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 1    specific legal or equitable interest. In re Estate of Ferdinand E. Marcos Human
 2    Rights Litigation, 536 F.3d 980, 984–85 (9th Cir. 2008)( quoting S. Cal. Edison Co. v.
 3    Lynch, 307 F.3d 794, 802 (9th Cir.2002). Proposed Intervenors have a legally
 4    protectable interest in the settlement in Mitchell v. City of Los Angeles, which
 5    Plaintiffs explicitly and implicitly challenge in this lawsuit. Plaintiffs allege in the
 6    seventh cause of action that the settlement in Mitchell was a project under CEQA, for
 7    which an environmental review was required. See Comp., ¶ 165. The eleventh cause
 8    of action challenges the settlement on due process and equal protection grounds,
 9    namely that the settlement distinguished between Skid Row and the rest of the City
10    without a rational reason for doing so. In addition to those causes of action that
11    explicitly mention the Mitchell settlement, other causes of action, including the first,
12    third through fourth, and seventh causes of action for negligence, nuisance, and
13    violations of substantive due process, relate to conditions in Skid Row that Plaintiffs
14    allege throughout the complaint were caused by the Mitchell injunction and
15    settlement. See e.g., Comp., ¶¶ 30, 37, 48; Comp., Pg. 47. 1
16        To satisfy the second prong of the test for intervention as a matter of right,
17    Proposed Intervenors must show that “the disposition of this case will, as a practical
18    matter, affect” the interest at stake. California ex rel Lockyer v. U.S., 450 F.3d 436,
19    442 (9th Cir. 2006). Again, as with all of the factors, the proposed intervenors “need
20    not demonstrate that their interest would be impaired in a legal sense, only that their
21
22
              Proposed Intervenors also have legally protected interests stemming from
              1


23    advocacy to pass and subsequently to protect the integrity of Measure HHH, see
24
      Washington State Building & Construction Trades v. Spellman, 684 F.2d 627 (9th
      Cir. 982), as well as on behalf of their members, who have a protectable interest to
25    be free from increased enforcement and the violation of their constitutional rights.
26    Although less concrete than the right to protect their settlement, Courts have
      recognized these as sufficient interests to support intervention, particularly where,
27
      as here, there is no other representation of unsheltered homeless people in Los
28    Angeles, who are most likely to be impacted by any proposed remedies in this
      case.
                                                          4
       ______________________________________________________________________________________________________
                          ORDER GRANTING EX PARTE APPLICATION TO INTERVENE
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 1           II.     LA CAN AND LACW SHOULD BE ALLOWED PERMISSIVE
                     INTERVENTION
 2
             In the alternative, this court finds that the Proposed Intervenors have also met
 3
      the requirements of Rule 24(b), which allows permissive intervention when “an
 4
      applicant’s claim or defense and the main action have a question of law or fact in
 5
      common.” Fed. R. Civ. P. 24(b)(1)(B). Permissive intervention is in the “broad
 6
      discretion of the trial court.” GOJO Indus., Inc. v. Barough, (“GOJO”), No.
 7
      SACV171382DOCJDEX, 2018 WL 5880829, at *3 (C.D. Cal. Apr. 2, 2018).
 8
      LACAN and LACW represent important interests in this case that are otherwise not
 9
      represented and as such, should be allowed to permissively intervene.
10
               As noted above, none of the parties currently in the case, include any
11
      individual who is currently unsheltered in Los Angeles. On the other hand, LA CAN
12
      and LACW have members and clients who live on the streets. Moreover, organizers
13
      and staff of LA CAN and LACW monitor what is happening on the streets, not just in
14
      Skid Row, but throughout Los Angeles. For example, the complaint alleges that the
15
      encampment under the overpass at Venice and the 405 is blocking the sidewalk. LA
16
      CAN has organizers and members that regularly visit that encampment and are
17
      familiar with the conditions there. The sweeps and property seizures at the overpass
18
      at Venice and the 405 divert LA CAN’s resources; yet this lawsuit is alleging the
19
      need for increased sweeps and enforcement. Complaint at 177.
20
             Similarly, LA CAN, as mentioned above, has unhoused members that reside
21
      on Skid Row and would be impacted by increased sweeps and enforcement. Not only
22
      are their interests affected, their participation will aid the court in determining the
23
      factual context of the litigation and in proving or disproving the parties’ statements
24
      about accessibility and state-created danger. It will also aid the court to hear from
25
      un-sheltered individuals, as the only unhoused individual who is a Plaintiff became
26
      sheltered prior to the lawsuit beginning.
27
28
             The Court finds that LA CAN and LACW have meet the standard for
                                                         6
        ______________________________________________________________________________________________________
                                  ORDER GRANTING EX PARTE APPLICATION TO INTERVENE
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 1    intervention as of right, as this litigation has significant potential to impact the
 2    settlement reached in the Mitchell case. It is so ORDERED.
 3
 4    Dated: March 18 , 2020
 5                                                   The Honorable David O. Carter
 6                                                   United States District Judge
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      ______________________________________________________________________________________________________
                                  ORDER GRANTING EX PARTE APPLICATION TO INTERVENE
